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                                                                             Startup Fund Management, LLC
                  14
                                                     UNITED STATES DISTRICT COURT
                  15
                                                  NORTHERN DISTRICT OF CALIFORNIA
                  16
                                                         SAN FRANCISCO DIVISION
                  17
                           SARAH SILVERMAN, an individual;
                  18       CHRISTOPHER GOLDEN, an individual;                    CASE NO. 3:23-cv-03416-AMO
                           RICHARD KADREY, an individual,
                  19                                                             DEFENDANTS’ REPLY
                                 Individual and Representative Plaintiffs,       MEMORANDUM IN SUPPORT OF
                  20                                                             MOTION TO DISMISS
                                 v.
                  21                                                        Date:           December 7, 2023
                           OPENAI, INC., a Delaware nonprofit corporation; Time:            2:00 pm
                  22       OPENAI, L.P., a Delaware limited partnership;    Place:          Courtroom 10 - 19th Floor
                           OPENAI OPCO, L.L.C., a Delaware limited          Before:         Hon. Araceli Martínez-Olguín
                  23       liability corporation; OPENAI GP, L.L.C., a
                           Delaware limited liability company; OPENAI
                  24       STARTUP FUND GP I, L.L.C., a Delaware limited
                           liability company; OPENAI STARTUP FUND I,
                  25       L.P., a Delaware limited partnership; and OPENAI
                           STARTUP FUND MANAGEMENT, LLC, a
                  26       Delaware limited liability company,
                  27             Defendants.

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                       1   I.      INTRODUCTION

                       2           The issue at the heart of this litigation is whether training artificial intelligence to

                       3   understand human knowledge violates copyright law. It is on that question that the parties

                       4   fundamentally disagree, and on which the future of artificial intelligence may turn. The purpose

                       5   of this Motion is to remove from the litigation an assortment of ancillary legal claims, none of

                       6   which fits the facts alleged, and some of which might fundamentally distort the analysis of the core

                       7   question at issue.

                       8           The leading example is Plaintiffs’ claim of vicarious copyright infringement. In order for

                       9   Defendants to be vicariously liable for copyright infringement, there must of course be an act of

                  10       copyright infringement by someone else. The third-party infringement that Plaintiffs point to, for

                  11       purposes of this claim, is the creation of outputs by ChatGPT users. Every such output, Plaintiffs

                  12       contend, is an infringing “derivative work,” irrespective of whether the particular output contains

                  13       any copyrightable expression from a work used to train the model. Under Plaintiffs’ theory, when

                  14       ChatGPT answers the question, “Who is the greatest basketball player of all time?” with “Michael

                  15       Jordan,” that answer somehow infringes both Sarah Silverman’s and Paul Tremblay’s books. That

                  16       legal theory is incorrect. Irrespective of how the outputs came to be, the outputs themselves are

                  17       not copyright infringements unless they contain enough protected expression from an original

                  18       work to be “substantially similar” in the copyright law sense of that phrase.

                  19               This is no minor quibble. It matters because a ruling at the outset of the litigation that every

                  20       single output of ChatGPT is a prima facie copyright infringement would send the parties and the

                  21       Court down the wrong path on a range of potentially critical issues—including among others the

                  22       propriety of class certification and the sound application of the fair use doctrine. A case about a

                  23       technology whose every last output is infringing would look very different, at virtually every

                  24       phase, from the case resulting from the facts Plaintiffs have alleged here, on a proper application

                  25       of the law. It is essential to the proper trajectory of the litigation for the Court to reject at square

                  26       one Plaintiffs’ erroneous theory.
                  27               The Section 1202 claims are equally flawed. For example, the first part of that claim is

                  28       based on Plaintiffs’ one-sentence conclusory assertion that OpenAI scrubbed copyright

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                       1   management information (“CMI”) from its training data. But Plaintiffs allege no facts to support

                       2   that suggestion and their own exhibits contradict it. Absent a coherent and plausible factual and

                       3   legal underpinning, the Section 1202 claims have no place in this litigation and their inclusion will

                       4   only skew the issues in dispute, needlessly complicating discovery and, later, summary judgment.

                       5          Plaintiffs’ state-law claims are similarly flawed and will have the same confounding effect.

                       6   Plaintiffs, for example, insist that OpenAI’s conduct constitutes “negligence” and “unjust

                       7   enrichment.” But these are not “catch-all” claims to append to every case. They are well-

                       8   established doctrines, with prescribed elements that are not remotely satisfied by the facts alleged

                       9   in the Complaints.     And the relevant factual allegations are duplicative of the allegations

                  10       supporting the copyright claims, which means the state claims are preempted by federal law.

                  11              This case presents important questions regarding the intersection of copyright law and the

                  12       rapidly growing field of artificial intelligence. But Counts II through VI of the Complaints fail on

                  13       their face to state a claim for relief. The Court should dismiss them with prejudice.

                  14       II.    ARGUMENT

                  15              A.      Plaintiffs’ Vicarious Infringement Claim Fails

                  16              A vicarious infringement claim requires (1) an act of direct infringement by a third party

                  17       for which the defendant could be liable; (2) the “right and ability to supervise” that infringement;

                  18       and (3) a “direct financial interest” in that infringement. MTD at 8. Count II fails each element.

                  19                      1.      Plaintiffs Do Not Allege Direct Infringement by a Third Party

                  20              Count II is based on the contention that “every output of [ChatGPT] is an infringing

                  21       derivative work” because it is “based on expressive information extracted from Plaintiffs’ works.”

                  22       Tremblay Compl. ¶¶ 58–61 (emphasis added); Silverman Compl. ¶¶ 59–62; Opp. at 9. That

                  23       contention is incorrect as a matter of law, and Count II should be dismissed on this basis alone.

                  24              Plaintiffs’ arguments on this issue reflect a misunderstanding of the basic framework of

                  25       copyright litigation. As Plaintiffs appear to agree, their Complaints allege that three separate

                  26       infringing acts have occurred: (a) the creation of copies during the training process; (b) the creation
                  27       of the models themselves; and (c) the generation of ChatGPT outputs, which (according to

                  28       Plaintiffs) are infringing derivatives of their books. Opp. at 7–8. And Plaintiffs agree that only

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                       1   the third alleged infringement—the creation of outputs—is the subject of the vicarious liability

                       2   claim, because that is the only infringement allegedly committed by third parties (i.e., users). Id.

                       3   at 8. In Plaintiffs’ view, their allegation that OpenAI “direct[ly] cop[ied]” the books during

                       4   training (i.e., the conduct in (a) above) means that every ChatGPT output (the conduct in (c) above)

                       5   is an infringing derivative simply because it “originated from direct copying.” Id. at 6–7, 9.

                       6          This is not how courts evaluate copyright claims. Suppose a film student uses a VCR to

                       7   record a television broadcast of Citizen Kane to study the film’s cinematography later. After class,

                       8   the student watches the recording, taking diligent notes, and then sets out to create their own film

                       9   as a tribute to Orson Welles. In litigation, the studio that owns the rights to Citizen Kane might

                  10       allege that the student’s creation of an identical copy of the film using their VCR constituted an

                  11       infringement of copyright’s reproduction right. But see Sony Corp. of Am. v. Universal City

                  12       Studios, Inc., 464 U.S. 417, 449, 454–55 (1984) (recording content “for private home use” is fair

                  13       use). But the fact that the student “directly copied” the broadcast using their VCR does not bear

                  14       on whether the film subsequently created is an unauthorized “derivative work.” Contra Opp. at

                  15       8–10. That depends entirely on whether the student’s film is “substantially similar” to Citizen

                  16       Kane. See Litchfield v. Spielberg, 736 F.2d 1352, 1357 (9th Cir. 1984). If the similarities consist

                  17       of unprotectable elements—like ideas, facts, styles, themes, or cinematography techniques—the

                  18       student’s film is not a prima facie infringing derivative work. See MTD at 6–7.

                  19              So too here. Plaintiffs’ allegation that OpenAI “directly copied” their books to train its

                  20       models serves to plead a claim based on that alleged copying—i.e., the first of Plaintiffs’ three

                  21       distinct copyright claims. Opp. at 7–8. But nothing more. Whether OpenAI “directly copied”

                  22       Plaintiffs’ books during the training process has no bearing on whether any given ChatGPT output

                  23       is an infringing derivative of those books.1 Instead, whether a ChatGPT output infringes the

                  24       derivative-work right depends entirely on whether that output contains “enough of [the books’]

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                  26         See, e.g., Silas v. Home Box Office, Inc., 201 F. Supp. 3d 1158, 1166, 1183 (C.D. Cal. 2016)
                           (dismissing copyright claim for lack of substantial similarity even though defendant was alleged
                  27       to have copied plaintiffs’ television treatment before abandoning plans to develop it); see also
                           Well-Made Toy Mfg. Corp. v. Goffa Intern. Corp., 354 F.3d 112, 114–17 (2d Cir. 2003) (upholding
                  28       dismissal of derivative-work claim, notwithstanding finding that the defendant had created its work
                           by “actually copying” the plaintiff’s work, for lack of substantial similarity).
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                       1   expression . . . to render the [output] substantially similar” to those books. Rentmeester v. Nike,

                       2   Inc., 883 F.3d 1111, 1117 (9th Cir. 2018) (affirming grant of motion to dismiss for lack of

                       3   substantial similarity); see also Skidmore v. Led Zeppelin, 952 F.3d 1051, 1064 (9th Cir. 2020) (en

                       4   banc) (“[O]nly substantial similarity in protectable expression may constitute actionable copying

                       5   that results in infringement liability.”).2

                       6           The cases Plaintiffs cite do not suggest otherwise. Instead, they stand for the unremarkable

                       7   proposition that, when alleged liability arises from conduct that is limited to a defendant’s identical

                       8   copy of the entirety of a plaintiff’s work, a court need not grapple with an analysis of how similar

                       9   the two works are or are not in order to conclude that there has been a prima facie act of

                  10       infringement. See, e.g., Ross-Nash v. Almond, No. 19-cv-00957, 2020 WL 6947691, at *1–3 (D.

                  11       Nev. Oct. 28, 2020) (skipping substantial similarity because defendant “admitted to photocopying”

                  12       the entirety of plaintiff’s book “and selling the photocopy”); see also Range Road Music, Inc. v.

                  13       East Coast Foods, Inc., 668 F.3d 1148, 1152, 1154 (9th Cir. 2012) (substantial similarity analysis

                  14       unnecessary where “uncontradicted” evidence established that defendant played recordings of

                  15       plaintiff’s songs “on [its] venue’s CD player” without a license). But with respect to the ChatGPT

                  16       outputs that are the basis of Plaintiffs’ vicarious liability claim, the parties agree that those outputs

                  17       are not verbatim copies of Plaintiffs’ copyrighted books. Tremblay Compl. ¶ 41; Silverman

                  18       Compl. ¶ 42. That in turn means that the viability of the claim depends precisely on how close the

                  19       outputs are or are not to the original works. None of the cases cited by Plaintiffs suggests that

                  20       pleading an antecedent act of “direct copying” means that all subsequently created works—like

                  21       our student’s film or ChatGPT’s outputs—are necessarily infringing derivatives notwithstanding

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                             See also Bucklew v. Hawkins, Ash, Baptie & Co., LLP, 329 F.3d 923, 930 (7th Cir. 2003) (“[T]hat
                           [a new work] had been ‘derived’ in a genetic sense from a[n] original would not make it
                  25       infringing.”); Well-Made Toy, 354 F.3d at 117 (if “two works [are not] substantially similar, then
                           the secondary work is not a derivative work” “even when [it is] ‘based upon’” the original); Micro
                  26       Star v. Formgen Inc., 154 F.3d 1107, 1110–11 (9th Cir. 1998) (derivative work “must substantially
                           incorporate protected material from the preexisting work,” otherwise the derivative-work right
                  27       would encompass “[e]very book in literature,” each of which “must necessarily borrow[] and use
                           much which was well known and used before” (citations omitted)); 2 Nimmer on Copyright § 8.09
                  28       (“Countless works are . . . ‘based on’ copyrighted works and, in that lay sense, constitute
                           ‘derivative works.’ But unless the product is substantially similar . . . it remains nonactionable.”).
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                       1   their lack of similarity to the originals.3

                       2           Plaintiffs incorrectly contend that in a copyright case, “evidence of direct copying” can

                       3   substitute for a showing of “access and substantial similarity.” Opp. at 7. But they are conflating

                       4   the proper analysis of two distinct questions that sometimes come up in copyright cases:

                       5   (a) whether, as a factual matter, the defendant “created his [work] independently, without

                       6   knowledge of or exposure to” the original (i.e., whether “actual copying” took place); and

                       7   (b) whether, if actual copying occurred, that copying is the kind of use that copyright law

                       8   condemns (i.e., whether there was “unlawful appropriation”). Rentmeester, 883 F.3d at 1117–18;

                       9   see also Tanksley v. Daniels, 902 F.3d 165, 173–74 (3d Cir. 2018). The rule that Plaintiffs are

                  10       referring to, but misconstruing, goes to question (a); but the argument in this Motion goes to

                  11       question (b). More precisely, the rule in the cases Plaintiffs are invoking says that if the defendant

                  12       contests “actual copying” by insisting that the challenged work was created independently, the

                  13       plaintiff can respond by either (1) presenting “direct evidence of copying” or (2) proving it

                  14       “circumstantially by showing that the defendant had access to the plaintiff’s work” and identifying

                  15       features common to both works that “one would not expect to arise” by mere coincidence.

                  16       Rentmeester, 883 F.3d at 1117. In other words, under copyright law, a plaintiff can use the striking

                  17       similarity between two works to argue that “actual copying” in fact took place, notwithstanding

                  18       the defendant’s position that the allegedly infringing work was independently created. But

                  19       critically, that evidence standing alone is “insufficient to support an infringement claim,”

                  20       Tanksley, 902 F.3d at 174, because not all “actual copying” qualifies as “unlawful appropriation,”

                  21       Rentmeester, 883 F.3d at 1124.

                  22
                           3
                  23        Cf. ITC Textile Ltd. v. Wal-Mart Stores Inc., No. 12-cv-2650, 2015 WL 12712311, at *4–5 (C.D.
                           Cal. Dec. 16, 2015) (defendant “admitted” that it had “inadvertent[ly]” “used [plaintiff’s] same
                  24       designs” beyond scope of license agreement); Cellular Accessories for Less, Inc. v. Trinitas LLC,
                           65 F. Supp. 3d 909, 915 (C.D. Cal. 2014) (defendants “[did] not dispute . . . that their website is
                  25       substantially similar to Plaintiff’s website”); Bravado Int’l Grp. Merchandising Servs., Inc. v.
                           Zhao, No. 13-cv-01032, 2014 WL 12579810, at *7 (C.D. Cal. June 20, 2014) (claim based entirely
                  26       on allegation that defendants “distributed copies of the copyrighted images themselves”); see also
                           YellowCake, Inc. v. DashGo, Inc., No. 21-cv-0803, 2022 WL 172934, at *2–3, *7 (E.D. Cal. Jan.
                  27       19, 2022) (defendant had “engaged in a number of unauthorized exploitations” of sound recordings
                           after its rights “to exploit” those works were “terminated”); KaZee, Inc. v. Callender, No. 19-cv-
                  28       31, 2020 WL 994832, at *7 (E.D. Tex. Mar. 2, 2020) (substantial similarity analysis unnecessary
                           because “[i]t is beyond dispute” that the defendant made verbatim copies of plaintiff’s works).
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                       1          For that reason, the doctrine Plaintiffs allude to in their brief has nothing to do with the

                       2   circumstance or question presented here. The point of this Motion, in Rentmeester’s terms, is that

                       3   even assuming that “actual copying” took place at the training stage, Plaintiffs have not adequately

                       4   pled that “unlawful appropriation” occurred at the output stage. Id. at 1118, 1121 (affirming

                       5   dismissal, even though plaintiff “plausibly alleged” actual copying, because the works “as a matter

                       6   of law [are] not substantially similar”). Notwithstanding Plaintiffs’ resistance, the “unlawful

                       7   appropriation” element of an infringement claim always requires that the challenged work contains

                       8   “enough of the plaintiff’s expression . . . to render the two works ‘substantially similar.’” Id. at

                       9   1117. Because nothing in the Complaints suggest that every ChatGPT output shares protectable

                  10       similarities with Plaintiffs’ books—a point Plaintiffs notably do not contest, Opp. at 7–8—the

                  11       Complaints fail to allege that those outputs constitute acts of direct copyright infringement for

                  12       which OpenAI could be held vicariously liable.

                  13                      2.      Plaintiffs Do Not Allege Right and Ability to Supervise

                  14              Under Ninth Circuit precedent, vicarious liability arises only where the defendant has the

                  15       “technical ability to screen out or identify” infringements. VHT, Inc. v. Zillow Grp., Inc., 918 F.3d

                  16       723, 746 (9th Cir. 2019). A plaintiff might plead such an ability by alleging (for example) that the

                  17       defendant “controlled and patrolled” its premises and could therefore readily identify and stop

                  18       infringing activity by third parties. See, e.g., Fonovisa, Inc. v. Cherry Auction, Inc., 76 F.3d 259,

                  19       262–63 (9th Cir. 1996). But a defendant who lacks that practical ability cannot be held vicariously

                  20       liable. Zillow, 918 F.3d at 746 (affirming rejection of vicarious liability claim because “ferreting

                  21       out claimed infringement” would have required “hunting for a needle in a haystack”).4

                  22              As OpenAI explained in its opening brief, the Complaints make no attempt to allege how

                  23       OpenAI could supervise the ChatGPT outputs that (according to Plaintiffs) constitute the direct

                  24       infringements on which Count II is based—responses to a potentially infinite universe of user

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                           4
                             Plaintiffs’ citation to Range Road is inapposite for this reason. 668 F.3d at 1155 (allegation that
                           defendants “exercised . . . managerial authority” over venue that performed copyrighted material
                  27       without authorization was sufficient to allege vicarious liability). So too for China Central
                           Television v. Create New Technology (HK) Limited, No. 15-cv-01869, 2015 WL 12732432 (C.D.
                  28       Cal. Dec. 7, 2015), where the claim was based on defendants’ refusal to take specific “steps within
                           their control to stop the infringement.” Id. at *5, *11 (emphasis added).
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                       1   prompts. The only allegation is a single sentence: “OpenAI has the right and ability to control the

                       2   output of the OpenAI Language Models.” Tremblay Compl. ¶ 60; Silverman Compl. ¶ 61. This

                       3   “lacks the requisite detail to sustain a claim.” Kilina Am., Inc. v. Bonded Apparel, Inc., No. 19-

                       4   cv-3027, 2019 WL 8065854, at *2 (C.D. Cal. Nov. 19, 2019) (dismissing vicarious liability claim).

                       5           In response, Plaintiffs urge the Court to “infer[]” that OpenAI has the right and ability to

                       6   supervise third-party infringements based on the fact that “OpenAI created and released ChatGPT

                       7   and its underlying LLMs,” and suggest two measures OpenAI might have taken to stop users’

                       8   infringement. Opp. at 11.5 First, Plaintiffs suggest that OpenAI could filter certain material from

                       9   its training data. Id. But the “right and ability to supervise” means the ability to “cause a third

                  10       party to stop its directly infringing activities,” e.g., by identifying and blocking third-party

                  11       infringements. Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1175 (9th Cir. 2007)

                  12       (emphasis added). The Ninth Circuit has repeatedly held that a plaintiff cannot satisfy that

                  13       requirement by suggesting changes to a defendant’s product that might make third-party

                  14       infringement less likely. Id. (suggestion that defendant could “avoid indexing [certain] websites”

                  15       insufficient).6 Second, Plaintiffs suggest that OpenAI could “just turn[] the models off.” Opp. at

                  16       11. But any defendant accused of vicarious liability has the ability to remove its products or

                  17       services from the market. That ability cannot, standing alone, suffice to state a claim for relief.

                  18       Cf. Zillow, 918 F.3d at 746; Visa, 494 F.3d at 806; Amazon.com, 508 F.3d at 1175.

                  19                       3.      Plaintiffs Do Not Allege Direct Financial Benefit

                  20               As OpenAI explained in its Motion, the Complaints’ sole allegation as to the “direct

                  21       financial benefit” requirement of the vicarious infringement claim is a single sentence stating that

                  22       OpenAI “benefited financially.” MTD at 11. In response, Plaintiffs point out that they also alleged

                  23       that OpenAI “profits richly,” that ChatGPT is “sold by OpenAI . . . for $20 per month,” and that

                  24       5
                             Neither of these measures actually appear in the Complaints, which is an independent reason for
                           the Court to disregard them. Schneider v. Cal. Dep’t of Corr., 151 F.3d 1194, 1197 n.1 (9th Cir.
                  25       1998) (court “may not look beyond the complaint to a plaintiff’s moving papers”).
                  26
                           6
                             See also Perfect 10, Inc. v. Visa Intern. Serv. Ass’n, 494 F.3d 788, 803 (9th Cir. 2007) (a website’s
                           “ability to control its own index, search results, and webpages does not give [it] the right to control
                  27       the infringing acts of third parties even though that ability would allow [it] to affect those infringing
                           acts to some degree”); Luvdarts, LLC v. AT&T Mobility, LLC, 710 F.3d 1068, 1071–72 (9th Cir.
                  28       2013) (allegation that defendants could “change their behavior” to avoid infringement “cannot
                           substitute for an allegation of a capacity to supervise”); Zillow, 918 F.3d at 746 (same).
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                       1   the ChatGPT “API is billed on the basis of usage.” Opp. at 11 & n.5 (citations omitted).

                       2          None of these allegations establishes the “direct financial benefit” specifically from third-

                       3   party copyright infringement required to plead vicarious infringement. That a defendant offers a

                       4   service in exchange for a “fee” or “periodic payments” does not suffice, absent allegations that

                       5   users were motivated to make those payments by the prospect of using the service to infringe the

                       6   plaintiff’s copyrights. Ellison v. Robertson, 357 F.3d 1072, 1079 (9th Cir. 2004); Perfect 10, Inc.

                       7   v. Giganews, Inc., 847 F.3d 657, 674 (9th Cir. 2017) (affirming dismissal where “there was no

                       8   evidence indicating that anyone subscribed . . . because of infringing [] material [owned by the

                       9   plaintiff]”). There are no such allegations here. Compare China Cent., 2015 WL 12732432, at *4

                  10       (service promoted as “the favorite of those who love to watch [plaintiff’s content]”).

                  11              B.      Plaintiffs’ DMCA Claims Fail

                  12              OpenAI’s Motion raised multiple independent grounds for dismissal of Plaintiffs’ Section

                  13       1202(b) claims. MTD at 11–18. Plaintiffs “fail[] to address” most of these arguments, and thereby

                  14       “concede[]” them. Tyler v. Travelers Com. Ins. Co., 499 F. Supp. 3d 693, 701 (N.D. Cal. 2020).

                  15                      1.      Section 1202(b)(1)

                  16              Plaintiffs completely ignore the first basis for dismissal of the Section 1202(b)(1) claim:

                  17       that the Complaints lack any specific allegations to suggest that OpenAI somehow deleted their

                  18       “names” and the books’ publication years from the copies OpenAI allegedly made when compiling

                  19       its training dataset. MTD at 14.7 To be clear: the only allegation about this supposed deletion is

                  20       a single sentence asserting (without any factual basis) that OpenAI’s “training process does not

                  21       preserve any CMI” “by design.” Tremblay Compl. ¶ 64, Silverman Compl. ¶ 65.

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                           7
                             Plaintiffs claim they “specifically allege[d] that their works contained” CMI consisting of “the
                           ISBN number or copyright number” and “terms of conditions and use.” Opp. at 13. But the
                  24       paragraphs they cite allege no such thing. Paragraph 25 of the Tremblay Complaint, for example,
                           merely alleges that “[a]uthors, including Plaintiffs, publish books with certain [CMI],” listing “the
                  25       ISBN number or copyright number” and “terms and conditions of use” as illustrative examples.
                           Tremblay Compl. ¶ 25; see also Silverman Compl. ¶ 26. This falls short of the operative pleading
                  26       standard, which requires identification of the CMI contained specifically in the works-in-suit, not
                           references to the types of CMI that authors of such works tend to use. See Free Speech Sys. LLC
                  27       v. Menzel, 390 F. Supp. 3d 1162, 1175 (N.D. Cal. 2019) (allegation that “certain . . . [CMI]” was
                           removed, absent facts regarding “what the removed or altered CMI was,” were insufficient to state
                  28       Section 1202(b) claim). The only forms of CMI specifically alleged in the Complaints are
                           Plaintiffs’ names and publication years. MTD at 13–14.
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                       1          Plaintiffs do not address the inconsistency between this conclusory statement and their own

                       2   pleadings. MTD at 14–15. Plaintiffs ignore that the ChatGPT outputs they attached to their

                       3   Complaints include the very CMI they allege OpenAI “removed”—which renders implausible

                       4   their allegations that CMI was deleted during training. MTD at 15. Nor do Plaintiffs acknowledge

                       5   that their Complaints allege OpenAI copied the books at issue in their entirety—i.e., including the

                       6   CMI that (Plaintiffs concede) was “located in each book.” Opp. at 16 n.8; MTD at 14. Absent

                       7   explanation of how this CMI can simultaneously have been scrubbed from OpenAI’s training data

                       8   and also feature prominently in ChatGPT outputs, Plaintiffs’ assertion that “the training process

                       9   does not preserve any CMI” “by design” lacks factual basis, is inherently contradictory, and cannot

                  10       support a claim. In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1055 (9th Cir. 2008) (“conclusory”

                  11       allegations, “unwarranted deductions of fact, or unreasonable inferences” insufficient).

                  12              OpenAI’s second independent basis for dismissal of the Section 1202(b)(1) claim is that,

                  13       even if OpenAI somehow deleted Plaintiffs’ names and publication years from the copies of their

                  14       books it allegedly made for its training dataset, OpenAI could not have had “reasonable grounds

                  15       to know” that removal would “induce, enable, facilitate, or conceal” copyright infringement

                  16       because that dataset is not publicly accessible. MTD at 16; 17 U.S.C. § 1202(b); compare Mango

                  17       v. Buzzfeed, Inc., 970 F.3d 167, 172–73 (2d Cir. 2020) (scienter requirement satisfied because

                  18       journalist who used photograph in “published [] news article” had “reasonable grounds to know[]”

                  19       that removal of “gutter credit” would “conceal” the fact that he had not licensed the photograph).

                  20              Plaintiffs’ only response is to point to OpenAI’s “failure to reveal which internet book

                  21       corpora ChatGPT is trained on,” which (they claim) makes it difficult for users to “determine

                  22       whether any output is infringing or not.” Opp. at 14–15. But whether an “output is infringing”

                  23       depends on the degree of similarity, not on technical details like the composition of an underlying

                  24       dataset. See supra 3–6. In any case, nothing in the DMCA requires OpenAI to reveal the

                  25       components of its training data to the public. To plead Section 1202(b)(1)’s scienter requirement,

                  26       Plaintiffs must provide some plausible basis for how the specific violation alleged—here, the
                  27       alleged deletion of their names and publication years from an internal dataset—could conceal an

                  28       act of infringement. Victor Elias Photography, LLC v. Ice Portal, Inc., 43 F.4th 1313, 1325 (11th

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                       1   Cir. 2022) (requiring “some identifiable connection” between the violation and an infringement).8

                       2   Referencing some other alleged act or omission is beside the point. Contra Opp. at 14–15.

                       3                  2.      Section 1202(b)(3)

                       4          OpenAI also presented two independent grounds for dismissal of the Section 1202(b)(3)

                       5   claim. MTD at 17–18. First, OpenAI pointed out that Section 1202(b)(3), by its terms, applies

                       6   only in the event of a “distribut[ion]” of a plaintiff’s “work[]” or “copies of [it],” 17 U.S.C.

                       7   § 1202(b)(3), and does not prohibit the distribution of derivative works without the CMI that

                       8   accompanied the originals. MTD at 17 (citing cases). As such, even accepting Plaintiffs’

                       9   contention that all ChatGPT outputs are derivative works, the distribution of those outputs cannot

                  10       violate Section 1202(b)(3). Plaintiffs ignore this argument in their opposition, and thereby concede

                  11       it is a sufficient basis to dismiss the Section 1202(b)(3) claim. Travelers, 499 F. Supp. 3d at 701.

                  12              OpenAI’s second independent basis for dismissal of the Section 1202(b)(3) claim is that,

                  13       even assuming that the ChatGPT outputs that OpenAI “distribut[ed]” constituted Plaintiffs’

                  14       “works” or “copies of [them],” Plaintiffs failed to allege that any CMI was “removed” from those

                  15       copies. 17 U.S.C. § 1202(b)(3); MTD at 17–18. As OpenAI explained, there is a legally

                  16       significant difference between (1) redacting or cropping out a plaintiff’s name from an otherwise

                  17       unaltered book or image, see, e.g., Mango, 970 F.3d at 172; ICONICS, Inc. v. Massaro, 192 F.

                  18       Supp. 3d 254, 267, 272–73 (D. Mass. 2016) (defendants “admit[ted]” to making verbatim copies

                  19       of plaintiff’s code and “delet[ing]” the “copyright header”); and (2) creating an entirely new work

                  20       that does not include the original CMI, MTD at 17–18. OpenAI cited numerous cases holding that

                  21       the latter circumstance does not violate Section 1202(b), even if the defendant’s work is similar to

                  22       the original, because omission of CMI from a new and different creation is not the same as an

                  23       affirmative act of “remov[al]” of CMI from an existing one. Id.

                  24              In response, Plaintiffs misapprehend the argument as demanding “identicality.” Opp. at

                  25

                  26
                           8
                             Plaintiffs’ argue that “[n]owhere in the statute or in this Circuit’s caselaw does scienter require
                           that the public need have knowledge that CMI was removed.” Opp. at 16. But CMI removal that
                  27       occurs behind closed doors cannot “induce, enable, facilitate, or conceal [] infringement.” 17
                           U.S.C. § 1202(b). As this Court explained in Izmo, Inc. v. Roaster, Inc., “the point of CMI is to
                  28       inform the public that something is copyrighted and to prevent infringement.” No. 18-cv-06092,
                           2019 WL 13210561, at *3 (N.D. Cal. Mar. 26, 2019) (citation omitted).
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                       1   16. This misses the point: what matters is whether the Complaints allege that CMI had been

                       2   “removed” from the “copies” of Plaintiffs’ “works” that OpenAI allegedly “distribute[d].”

                       3   17 U.S.C. § 1202(b)(3); MTD at 17. Allegations that the defendant “distribut[ed]” a new, different

                       4   work—here, ChatGPT outputs—that omitted Plaintiffs’ CMI do not as a matter of law support a

                       5   claim that CMI has been “removed” from those outputs, as Plaintiffs’ own cited cases make clear.9

                       6          C.      Plaintiffs’ UCL Claim Fails

                       7          “Count 4” of the Complaints, for violation of California’s Unfair Competition Law

                       8   (“UCL”), consists of four paragraphs, each of which focuses exclusively on OpenAI’s alleged

                       9   “unlawful business practices.” Tremblay Compl. ¶¶ 69–72, Silverman Compl. ¶¶ 70–73. For this

                  10       reason, OpenAI observed in its Motion that Count 4 proceeds solely under the UCL’s “unlawful”

                  11       prong. MTD at 19. And because the Complaints state that “[t]he unlawful business practices . . .

                  12       violate [the UCL] . . . because that conduct . . . violat[es] the DMCA,” OpenAI observed that

                  13       Plaintiffs’ Section 1202(b) claim is the sole predicate for their UCL claim. Id.

                  14              In response, and contrary to the language of the Complaints, Plaintiffs insist that they also

                  15       alleged claims under the UCL’s “unfair” and “fraudulent” prongs. Opp. at 19–20. But a claim

                  16       under the UCL’s “unfair” prong requires a plaintiff to allege “conduct that threatens an incipient

                  17       violation of an antitrust law.” Cel-Tech Comm’ns, Inc. v. Los Angeles Cellular Tel. Co., 20 Cal.4th

                  18       163, 187 (1999). There are no such allegations here. And the words “fraud” or “fraudulent” appear

                  19       nowhere in the pleadings, nor do Plaintiffs make any attempt to satisfy Rule 9(b)’s requirement to

                  20
                           9
                             See Frost-Tsuji Architects v. Highway Inn, Inc., No. 13-cv-00496, 2014 WL 5798282, at *5 (D.
                  21       Haw. Nov. 7, 2014) (“redraw[ing]” plans without original CMI “would not involve any removal”
                           of CMI); Frost-Tsuji Architects v. Highway Inn, Inc., No. 13-cv-00496, 2015 WL 263556, at *4
                  22       (D. Haw. Jan. 21, 2015) (denying motion for reconsideration, holding that creation of “derivative
                           work” “based . . . on the [plaintiff’s] work” does not constitute “remov[ing] the [CMI] from
                  23       [plaintiff’s] original”); Frost-Tsuji Architects v. Highway Inn, Inc., 700 F. App’x 674, 675 (9th
                           Cir. 2017) (affirming both orders and endorsing district court’s reasoning); Dolls Kill, Inc. v.
                  24       Zoetop Bus. Co., No. 22-cv-01463, 2022 WL 16961477, at *3–4 (C.D. Cal. Aug. 25, 2022)
                           (allegation that defendant created “knockoff products” did not allege “that Defendants removed
                  25       . . . anything [from] Plaintiffs’ original works;” noting that differences between the products
                           suggested that defendants created new work rather than simply removing CMI from the original).
                  26
                           Plaintiffs also assert that the Court in Doe 1 v. Github, Inc., “sustained” a DMCA claim on the
                  27       same facts. Opp. at 17 n.9; No. 22-cv-06823, 2023 WL 3449131 (N.D. Cal. May 11, 2023). But
                           Github addressed a claim based on materially different facts, see id. at *2, and the Court’s order
                  28       did not address any of the issues or cases discussed above, see id. at *11–12. This is why Plaintiffs’
                           opposition relies primarily on the parties’ briefs, not the Court’s decision. Opp. at 17 n.9.
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                       1   plead fraud “with particularity.” Fed. R. Civ. P. 9(b); Apple Inc. v. Allan & Assocs. Ltd., 445 F.

                       2   Supp. 3d 42, 59 (N.D. Cal. 2020) (plaintiff may not amend complaint “by the briefs in opposition

                       3   to a motion to dismiss”); Kearns v. Ford Motor Co., 567 F.3d 1120, 1127–28 (9th Cir. 2009)

                       4   (affirming dismissal of UCL claim for failure to plead fraud with particularity).

                       5          As to the “unlawful” claim that Plaintiffs did plead, OpenAI advanced two independent

                       6   bases for dismissal beyond the threshold matter of whether the predicate DMCA violation is

                       7   adequately stated. First, OpenAI argued that Plaintiffs failed to allege some economic injury that

                       8   flows directly from the predicate violation—here, the alleged removal of Plaintiffs’ CMI from an

                       9   internal dataset and the suggestion that ChatGPT’s outputs do not include that CMI. MTD at 19

                  10       (citing cases). In response, Plaintiffs cite a litany of perceived injuries, each of which stems not

                  11       from their DMCA claims but from their copyright claims. Opp. at 21 (referring to Plaintiffs’

                  12       “stolen writings,” OpenAI’s “ill-gotten profit,” and “deprivation of [] intellectual property”).

                  13       Other than general remarks about the “purpose of the DMCA” and the importance of “intellectual

                  14       property rights,” id., Plaintiffs do not explain how these injuries are “the result of” the alleged

                  15       omission or removal of CMI, as the UCL requires for a claim predicated on a DMCA violation,

                  16       Davis v. RiverSource Life Ins. Co., 240 F. Supp. 3d 1011, 1017 (N.D. Cal. 2017). In any case,

                  17       none of these injuries is alleged in the Complaints pursuant to the DMCA claim, which includes

                  18       only grievances about “attribut[ion]” and “credit.” Tremblay Compl. ¶¶ 71–72, Silverman Compl.

                  19       ¶¶ 72–73; Github, 2023 WL 3449131, at *14 (dismissing UCL claim where claimed injuries were

                  20       not “in the complaint”). Those are intangible harms that do not confer standing under the UCL.

                  21       See Troyk v. Farmers Grp., Inc., 171 Cal. App. 4th 1305, 1348 n.31 (2009).

                  22              Second, OpenAI cited case law establishing that the UCL requires a plaintiff to “establish

                  23       that she lacks an adequate remedy at law,” Sonner v. Premier Nutrition Corp., 971 F.3d 834, 844

                  24       (9th Cir. 2020), and to “explain why the damages it seeks elsewhere in its complaint are not

                  25       adequate to compensate it for” the injuries that form the basis of the UCL claim, Silvercrest Realty,

                  26       Inc. v. Great Am. E&C Ins. Co., No. 11-cv-01197, 2012 WL 13028094, at *3 (C.D. Cal. Apr. 4,
                  27       2012). Plaintiffs provide no explanation for how the alleged removal of their CMI causes them

                  28       some specific harm for which there is no adequate remedy at law. See Opp. at 22 (Plaintiffs

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                       1   “should still be able to seek disgorgement of OpenAI’s profits for the unauthorized use of their

                       2   books” even if “there has been no unauthorized copying or other infringement of [those books].”).

                       3          D.      Plaintiffs’ Negligence Claim Fails

                       4          In support of their “negligence” claim, Plaintiffs insist that OpenAI owed Plaintiffs a “duty

                       5   of care” because OpenAI allegedly “possessed . . . Plaintiffs’ Works.” Opp. at 23–24. But

                       6   Plaintiffs do not address the cases in which courts have rejected attempts to assert a broad “duty

                       7   to every copyright holder.” New Sensations, Inc. v. Does, No. 12-cv-3800, 2012 WL 12898400,

                       8   at *3 (N.D. Cal. Nov. 29, 2012) (negligence claim dismissed); MTD at 21; Liberty Media

                       9   Holdings, LLC v. Does 1-62, No. 11-cv-575, 2011 WL 1869923, at *3 (S.D. Cal. May 12, 2011)

                  10       (same). Nor do Plaintiffs cite cases suggesting that the mere “possession” of a copyrighted work

                  11       creates a “special relationship” or a “duty not to steal” sufficient to support a tort claim for

                  12       negligence.10 Opp. at 23. If it did, every copyright claim would also support a negligence claim.

                  13              E.      Plaintiffs’ Unjust Enrichment Claim Fails

                  14              Plaintiffs’ own authority explains that the law of unjust enrichment applies where

                  15       “plaintiffs, while having no enforceable contract, nonetheless have conferred a benefit on

                  16       defendant.” Hernandez v. Lopez, 180 Cal. App. 4th 932, 938 (2009); Opp. at 24. For that reason,

                  17       pleading an unjust enrichment claim requires that the plaintiff allege why it conferred that benefit,

                  18       whether due to its own “mistake” or the defendant’s “fraud[] or coercion.” Bittel Technology, Inc.

                  19       v. Bittel USA, Inc., No. 10-cv-00719, 2010 WL 3221864, at *5 (N.D. Cal. Aug. 13, 2010).

                  20              As OpenAI explained in its Motion, there are no allegations in the Complaints regarding

                  21       any “benefit” that Plaintiffs voluntarily “conferred” on OpenAI. MTD at 22. Plaintiffs disagree,

                  22       arguing that “the taking of Plaintiffs’ Works by OpenAI” constitutes a “benefit.” Opp. at 25. But

                  23       a mere allegation that a defendant took something from a third-party with whom it had no

                  24       contractual or quasi-contractual relationship is very different from an allegation that the defendant

                  25       induced the plaintiff to confer a benefit through mistake, fraud, or coercion. Plaintiffs cite no case

                  26       10
                             The only case Plaintiffs cite concerned a defendant who was alleged to be a lawful “custodian[]”
                  27       of plaintiffs’ private information, and who allegedly violated its duty to “prevent access” to that
                           information by furnishing credit reports to unauthorized third parties for improper purposes,
                  28       thereby violating plaintiffs’ “privacy rights.” Witriol v. LexisNexis Grp., No. 05-cv-02392, 2006
                           WL 4725713, at *2, *8 (N.D. Cal. Feb. 10, 2006).
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                       1   suggesting that the former can support an unjust enrichment claim. Rather, every single case cited

                       2   in Plaintiffs’ briefs involved the voluntary conferral of a benefit by a plaintiff to a defendant.11

                       3          F.      The Negligence and Unjust Enrichment Claims Are Preempted

                       4          Section 301 preempts state-law claims if (1) the “subject matter” of the claim falls within

                       5   the “subject matter of copyright” and (2) if the rights asserted under state law are functionally

                       6   “equivalent to” the rights in Section 106 of the Copyright Act. 17 U.S.C. § 301(a); MTD at 22–

                       7   23. Plaintiffs do not dispute the first prong. Opp. at 17–19. Instead, Plaintiffs assert that their

                       8   claims survive preemption because they are based on OpenAI’s “use” of their books. Opp. at 18.

                       9   In support, Plaintiffs cite two cases in which courts sustained claims against preemption

                  10       challenges. Id. at 17, 19 (citing Altera Corp. v. Clear Logic, Inc., 424 F.3d 1079 (9th Cir. 2005)

                  11       and G.S. Rasmussen & Assocs., Inc. v. Kalitta Flying Serv., Inc., 958 F.2d 896 (9th Cir. 1992)).

                  12              Those cases, however, both concerned claims that had nothing to do with the rights granted

                  13       by the Copyright Act. See 17 U.S.C. § 106. Altera addressed a state-law claim against a microchip

                  14       manufacturer who asked customers of the plaintiff (another chip manufacturer) to use plaintiff’s

                  15       copyrighted software to generate a “bitstream” that functioned as a blueprint which the defendant

                  16       could then use to create replacement chips, an act which violated the customers’ license

                  17       agreements with the plaintiff. 424 F.3d at 1082. Because the claim was not based on “reproduction

                  18       of the software,” but on the “use” of existing software to create a separate file in violation of a

                  19       license, the claim survived preemption.        Id. at 1089–90.     Similarly, Rasmussen concerned

                  20       allegations that the defendant (an aircraft operator) was “free-riding” on an aircraft design that

                  21       11
                             ESG Cap. Partners, LP v. Stratos, 828 F.3d 1023, 1029–31 (9th Cir. 2016) (payment solicited
                  22       by “con artist”); Hart v. TWC Prod. and Tech. LLC, 526 F. Supp. 3d 592, 597, 604–05 (N.D. Cal.
                           2021) (plaintiff induced to “[g]rant [] access to” “geolocation data”); In re General Motors LLC
                  23       CP4 Fuel Pump Litig., 393 F. Supp. 3d 871, 875, 881–82 (N.D. Cal. 2019) (defendant induced
                           plaintiff to pay “a premium” for “defective” parts); ChromaDex, Inc. v. Elysium Health, Inc., No.
                  24       16-cv-02277, 2017 WL 7080237, at *4 (C.D. Cal. Nov. 28, 2017) (claim for “royalties [] paid”
                           under renounced license); Wu v. Sunrider Corp., No. 17-cv-4825, 2017 WL 6880087, *1–2, *4
                  25       (C.D. Cal. Oct. 10, 2017) (claim for membership fees paid to “pyramid scheme”); CSI Elec.
                           Contractors, Inc. v. Zimmer Am. Corp., No. 12-cv-10876, 2013 WL 1249021, at *1–2, *5 (C.D.
                  26       Cal. Mar. 25, 2013) (claim for payment for subcontractor’s work); Tufeld Corp. v. Beverly Hills
                           Gateway, L.P., 86 Cal. App. 5th 12, 31–32 (2022) (claim for payment made under partially
                  27       unenforceable lease); see also Hadley v. Kellogg Sales Corp., 324 F. Supp. 3d 1084, 1090–91,
                           1113 (N.D. Cal. 2018) (defendant induced purchases with “misleading packaging”); Bruton v.
                  28       Gerber Prods. Co., 703 F. App’x 468, 470 (9th Cir. 2017) (same); In re Bang Energy Drink
                           Marketing Litig., No. 18-cv-05758, 2020 WL 4458916, at *3 (N.D. Cal. Feb. 6, 2020) (same).
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                       1   plaintiff had developed and ushered through FAA approval. 958 F.2d at 899–900. Because the

                       2   gravamen of the claim was not the “duplication” of the plaintiff’s drawings, but the “use” of the

                       3   design specification and “valuable” FAA approval, the claim survived preemption. Id. at 904.12

                       4          Those cases have no relevance here because Plaintiffs’ state-law claims are based on the

                       5   same facts as the copyright infringement claims. MTD at 23–24. Plaintiffs argue that their state-

                       6   law claims are based on the “use of [their] Works as training material for OpenAI’s ChatGPT

                       7   model.” Opp. at 18 (emphasis added). That is the precise basis for Plaintiffs’ first claim for direct

                       8   copyright infringement, based on the use of “Plaintiffs’ books . . . as training data.” Id. at 7

                       9   (emphasis added). Similarly, Plaintiffs argue that their state-law claims are based on the “use of

                  10       [their] works as the basis of the ChatGPT model.” Id. at 19. But that is the exact basis of Plaintiffs’

                  11       second copyright claim, which contends that OpenAI’s models are “infringing derivative[s]”

                  12       because they are “entirely dependent on the expressive information extracted from Plaintiffs’

                  13       works.” Id. at 8. Plaintiffs’ emphasis on the word “use” in their briefing is irrelevant, because

                  14       preemption depends on the “essence” of the claim. Laws v. Sony Music Ent., Inc., 448 F.3d 1134,

                  15       1144 (9th Cir. 2006). Because these claims rely on the “exact same allegations made in [the]

                  16       Copyright claim,” they are preempted. Pourtemour v. Simpson, No. 07-cv-7308, 2008 WL

                  17       11419054, at *3 (C.D. Cal. Mar. 4, 2008) (dismissing claim based on “use of [a] literary work”);

                  18       MTD at 24 (citing cases where negligence and unjust enrichment claims based on “use” of works

                  19       were preempted); Thomson Reuters Enters. Ctr. GmbH v. Ross Intelligence Inc., No. 20-cv-00613,

                  20       2023 WL 6210901, at *12 (D. Del. Sept. 25, 2023) (claim preempted).13

                  21       III.   CONCLUSION

                  22              For the foregoing reasons, OpenAI requests dismissal of Counts II through VI.

                  23       12
                              Plaintiffs also cite Venegas-Hernandez v. Asociacion De Compositores, Editores De Musica
                           Latinoamerica (ACEMLA), 424 F.3d 50 (1st Cir. 2005), which held it is not copyright infringement
                  24       to grant a license without authority to do so unless there was some “listed infringing act (beyond
                           authorization).” Id. at 57–58. In so doing, the Court suggested that a licensee who discovers it
                  25       has paid a license fee to a licensor who lacks the underlying rights may have “ample remedies”
                           under “state law,” including a claim for “unjust enrichment” to recover that fee. Id. The case does
                  26       not in any way suggest that a plaintiff can sue for unjust enrichment based on an “infringing act.”
                  27
                           13
                              Plaintiffs cite to Github, in which the Court suggested that “state law tort claims concerning
                           unauthorized use are not preempted by the Copyright Act.” 2023 WL 3449131, at *11. This was
                  28       dicta: the Court went on to find the claim preempted. Id. Notably, the Court’s only support for
                           the statement in question was Altera, which is distinguishable as discussed. See supra 14.
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                       1                                         ATTESTATION

                       2           I, Andrew M. Gass, am the ECF user whose user ID and password authorized the filing of

                       3   this document. Under Civil L.R. 5-1(h)(3), I attest that all signatories to this document have

                       4   concurred in its filing.

                       5   Dated: October 11, 2023                    /s/ Andrew M. Gass

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